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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-056 LKK
     United States of America,           )
 9                                       ) WAIVER OF DEFENDANT’S PRESENCE
                Plaintiff,               ) [Fed.R.Crim. Pro. 43]
10                                       )
          vs.                            ) Court: Hon. Lawrence K. Karlton
11                                       )
                                         )
12   Nathosha Saunders, et.al.           )
                                         )
13              Defendants
14

15

16        Ms. Natasha Saunders waives the right to be present in person in
17   open Court upon the hearing of any motion or other proceeding in this
18   case, including, but not limited to, when the case is ordered set for
19   trial, when a continuance is ordered, and when any other action is
20   taken by the court before or after trial, except upon arraignment,
21   initial appearance, plea, trial confirmation hearing, impanelment of
22   jury, every trial stage including verdict, and imposition of sentence.
23   The defendant hereby requests the Court to proceed during every
24   absence of hers which the Court may permit pursuant to this waiver,
25   agrees that her interests will be deemed represented at all times by
26   the presence of her attorney the same as if she were personally
27   present, and further agrees to be present in Court and ready for trial
28   any day and hour the Court may fix in her absence.




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 1             The defendant further acknowledges that she has been

 2   informed of her rights under 18 U.S.C. § 3161 – 3174 (the Speedy Trial

 3   Act), and authorizes her attorney to set times and delays under that

 4   act without her being present.    The reason for this request is that

 5   Ms. Saunders is employed full time as a condition of her pre-trial

 6   release and missing work would jeopardize her employment.      With the

 7   Court’s permission, Ms. Saunders respectfully requests that this Court

 8   accept her waiver of appearance when the statute deems her presence

 9   inessential and this Court consents.

10

11        Dated: August 14, 2007       /s/ Natosha Saunders
                                       Natosha Saunders
12                                     Defendant
13

14
                                       __/s/ Shari Rusk___
15                                     Shari Rusk
                                       Attorney for Defendant
16                                     Natosha Saunders

17

18                                     ORDER

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20        IT IS SO ORDERED.
     DATED: September 7, 2007
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